
671 S.E.2d 529 (2008)
STATE of North Carolina
v.
Gary Roger WALKER.
No. 455P08.
Supreme Court of North Carolina.
December 11, 2008.
J. Clark Fischer, Winston-Salem, for Walker.
Mary D. Winstead, Special Deputy Attorney General, Philip E. Berger, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 1st day of October 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of December 2008."
